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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MASSACHUSETTS



 ANALOG DEVICES, INC. and HITTITE
 MICROWAVE LLC,
                                                     Civil Action No.: 1:18-cv-11028-GAO
                 Plaintiffs,

                         v.                          FILED UNDER SEAL

 MACOM TECHNOLOGY SOLUTIONS
 HOLDINGS, INC. and MACOM
 TECHNOLOGY SOLUTIONS INC.,

                 Defendants.




             DECLARATION OF KIMBERLY A. MOTTLEY IN SUPPORT OF
                ANALOG’S MEMORANDUM OF LAW IN SUPPORT OF
                  ITS MOTION FOR PRELIMINARY INJUNCTION


I, Kimberly A. Mottley, declare the following:

       1.       I am an attorney at Proskauer Rose LLP and counsel for Plaintiffs Analog Devices,

Inc. and its wholly-owned subsidiary Hittite Microwave LLC (collectively, “Analog”).

       2.       I submit this declaration in support of Analog’s Memorandum of Law in support of

its Motion for Preliminary Injunction (the “Motion”).

       3.       Attached as Exhibit A is a true and correct copy of Frank Traut’s Public Profile

listed on LinkedIn.

       4.       Attached as Exhibit B is a true and correct copy of an executed copy of Hittite’s

Proprietary Information, Confidentiality and Inventions Agreement (dated March 2003).




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          5.       Attached as Exhibit C is a true and correct copy of a March 13, 2015 Letter from

Analog outside counsel Adam P. Forman to Frank Traut, attaching an executed copy of Analog’s

Employee Confidentiality and Developments Agreement (dated September 2014).

          6.       Attached as Exhibit D to the Motion is a true and correct copy of records reflecting

file downloads, including exported files and files copied to a removable drive, by Mr. Traut

immediately prior to his departure from Analog for MACOM (dated December 2014 and January

2015).

          7.       Attached as Exhibit E is a true and correct copy of a March 18, 2015 Letter from

Analog’s Senior Vice President, General Counsel and Secretary Margaret K. Seif to MACOM’s

President and CEO John Croteau.

          8.       Attached as Exhibit F is a true and correct copy of a September 21, 2016 MACOM

Press Release announcing MACOM’s release of its MAAP-011247 amplifier.

          9.       Attached as Exhibit G to the Motion is a true and correct copy of U.S. Patent No.

9,425,752 (the “‘752 Patent”).

          10.      Attached as Exhibit H is a true and correct copy of an office action (dated April 29,

2015) from the U.S. Patent and Trademark Office from the prosecution file history of the ‘752

Patent.

          11.      Attached as Exhibit I is a true and correct copy of an office action (dated September

9, 2015) from the U.S. Patent and Trademark Office from the prosecution file history of the ‘752

Patent.

          12.      Attached as Exhibit J is a true and correct copy of an office action (dated January

21, 2016) from the U.S. Patent and Trademark Office from the prosecution file history of the ‘752

Patent.



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       13.     Attached as Exhibit K is a true and correct copy of a notice of allowability (dated

April 15, 2016) from the U.S. Patent and Trademark Office from the prosecution file history of

the ‘752 Patent.




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       I hereby declare under the penalties of perjury under the laws of the United States that the

above statements are to the best of my knowledge true and correct.



 Dated: June 29, 2018                         By:      /s/ Kimberly A. Mottley
                                                       Kimberly A. Mottley




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                                 CERTIFICATE OF SERVICE

       I hereby certify that this document filed through the ECF system will be sent electronically

to the registered participants as identified on the Notice of Electronic Filing on June 29, 2018.


                                                   /s/ Steven M. Bauer
                                                   Steven M. Bauer
